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                         EXHIBIT A
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                              Supplemental Opinion and Community Attitude Findings
        Previously, ILR delivered the results of a Comparative Community Attitude Study (“Study”) that tested
four Federal Jurisdictions for signals of prejudicial bias that would threaten certain defendants’ rights to a
fair trial by an impartial jury. To avoid perpetuating any bias or creating associations where none existed,
ILR chose not to reference the names of or test opinion on individual defendants or groups of defendants in
conducting the Study. While the results of the Study give information the Court can use to determine
whether prejudicial bias should be presumed, a separate study to test for actual bias was requested by
various defendants associated with or likely to be tried alongside other defendants associated with a group
known as the Oath Keepers (“Supplemental Study”).

      For this Supplemental Study, respondents from the four previously studied Federal Districts
(“Test Areas”)1 were randomly selected in the same manner the master jury wheel for each Test Area
is created and in the same manner the Study selected respondents from these same test areas.
Respondents were asked whether they have a “Favorable” or “Unfavorable” view or if they “Do Not
Have an Opinion at This Time” concerning 13 different Groups, Organizations and Movements
(“Groups”). The Groups represent a variety of ideologies, missions and associations. The results
concerning opinion about the Oath Keepers are shown in the figures below:


                                             Opinion of Oath Keepers by Jurisdiction
            70%          68.24%



            60%
                                                          53.19%
                                                                                                  51.16%
            50%                                                                  48.24%
                                                                            45.88%

                                                                                                       39.53%
            40%
                                                    36.17%                                                         Favorable
                                                                                                                   Unfavorable
            30%
                                  25.29%                                                                           No Opinion

            20%

                                              10.64%
                                                                                              9.30%
            10%      6.47%                                              5.88%


             0%
                             DC            FL Middle - Ocala Division     NC Eastern            VA Eastern




1
  The United States District Court for the District of Columbia, the United States District Court for the Middle District of Florida -
Ocala Division, the United States District Court for the Eastern District of North Carolina, and the United States District Court for
the Eastern District of Virginia.
                                                                          !"
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                 Opinion of Oath Keepers by Jurisdiction
         Federal Jurisdiction       Favorable Unfavorable No Opinion Area Total
     District of Columbia             6.47%     68.24%     25.29%     100.00%
     FL Middle - Ocala Division      10.64%     36.17%     53.19%     100.00%
     NC Eastern                       5.88%     45.88%     48.24%     100.00%
     VA Eastern                       9.30%     51.16%     39.53%     100.00%

Key Findings
         Results from the Supplemental Study show that the DC Community’s view of the Oath
Keepers is unique among the Test Areas - and is decidedly Unfavorable. 68% of the respondents
from the District of Columbia Federal District (“DC Respondents”) hold an Unfavorable view of the
Oath Keepers, while the other Test Areas range from 36% - 46%. Additionally, the results show
that only 25% of the DC Respondents do not currently harbor a Favorable or Unfavorable view of
the Oath Keepers. This is starkly different than the other three Test Areas, where 40% - 53% of
respondents do not hold a preconceived opinion about the Oath Keepers. While the Test Areas
differ from each other in geographic location, demographic composition and political party
alignment, the three other Test Areas produced remarkably similar results on their awareness of
and opinion about the Oath Keepers. The DC test area’s distribution of awareness and opinion
deviates considerably from both the medians and means of those of the four Test Areas,
rendering the District of Columbia test area an outlier. Detailed results and comprehensive
analysis are forthcoming.

This Supplemental Study included questions on opinion about the following:

 •    National Rifle Association
 •    Black Lives Matter
 •    January 6th Defendants
 •    Planned Parenthood
 •    Trump supporters
 •    The Alt-Right
 •    ANTIFA
 •    The Oath Keepers
 •    QAnon
 •    The Coalition to Stop Gun Violence
 •    The Environmental Defense Fund
 •    The Tea Party Movement
 •    Occupy Wall Street
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